    Case: 1:20-cv-04699 Document #: 59 Filed: 09/09/20 Page 1 of 2 PageID #:1175




                  IN THE UNITED STATES DISTRICT COURT FOR THE
                 NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

 IN RE: TIKTOK, INC., CONSUMER                       )
 PRIVACY LITIGATION,                                 )   MDL No. 2948
                                                     )
                                                     )   Master Docket No. 20 C 4699
                                                     )
                                                     )   Judge John Z. Lee
                                                     )
 This Document Relates to All Cases                  )   Magistrate Judge Sunil R. Harjani
                                                     )

                             NOTICE OF FILING AND SERVICE

TO:       All parties registered to receive notice in this matter via the Court’s CM/ECF
          System.

          Please take notice that on September 9, 2020, in the matter of T.K. v. ByteDance

Technology Co., Ltd., No. 1:19-cv-7915 (N.D. Ill.) (Blakey, J.), I caused to be filed: (a) Objector

Mark S.’s Motion for Enforcement of Preliminary Injunction and for Reassignment and

Consolidation of the Related TikTok MDL (Dkt. 51); and (b) Objector Mark S.’s Memorandum

in Support of Motion for Enforcement of Preliminary Injunction and for Reassignment and

Consolidation of the Related TikTok MDL (Dkt 52), copies of which are submitted with this

Notice.

Dated: September 9, 2020                             Respectfully submitted,

                                                     MARK S.
                                             By:     /s/ Scott R. Drury
                                                     SCOTT R. DRURY
                                                     One of the attorneys for Mark S.
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   Case: 1:20-cv-04699 Document #: 59 Filed: 09/09/20 Page 2 of 2 PageID #:1176




                                 CERTIFICATE OF SERVICE

          I, Scott R. Drury, an attorney, hereby certify that, on September 9, 2020, I filed the

foregoing document using the Court’s CM/ECF system, which effected service on all counsel of

record.

                                                    /s/ Scott R. Drury
                                                    One of the attorneys for Mark S.
